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       Attorneys for Plaintiff and the Class
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         Additional Counsel Listed Below
     6
     7                           UNITED STATES DISTRICT COURT
     8
                                CENTRAL DISTRICT OF CALIFORNIA
     9
    10 SARAH MOORE, on behalf of herself         Case No: 2:12-CV-03224-FMO (AGRx)
         and on behalf of all others similarly   Hon. Fernando M. Olguin
    11 situated,
    12                                           NOTICE OF UNOPPOSED MOTION
                                                 AND MOTION FOR FINAL
    13                     Plaintiff,            APPROVAL OF CLASS ACTION
           vs.                                   SETTLEMENT
    14
                                                 [FILED CONCURRENTLY WITH:
    15 ULTA SALON, COSMETICS &                   (1) MEMORANDUM IN SUPPORT
    16 FRAGRANCE, INC., a Delaware                    OF MOTION FOR FINAL
         Corporation;                                 APPROVAL OF CLASS ACTION
    17                                                SETTLEMENT;
             Defendants.                         (2) DECLARATIONS IN SUPPORT
    18
                                                     OF UNOPPOSED MOTION FOR
    19                                               FINAL APPROVAL OF CLASS
                                                     ACTION SETTLEMENT;
    20
                                                 (3) [PROPOSED] ORDER
    21                                               GRANTING FINAL APPROVAL
                                                     OF CLASS ACTION
    22                                               SETTLEMENT
    23                                           DATE:    JULY 6, 2017
                                                 TIME:    10:00 AM
    24                                           CRT RM: 6D
    25
    26
    27
    28

                                                     NOTICE OF MOTION FOR FINAL APPROVAL OF
                                                                   CLASS ACTION SETTLEMENT
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                                                       NOTICE OF MOTION FOR FINAL APPROVAL
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               To the Court and all interested parties.
     2
               PLEASE TAKE NOTICE THAT on July 6, 2017 at 10:00 a.m. in Courtroom
     3
         6D of this Court, located at 350 N. First Street, Los Angeles California 90012,
     4
         Plaintiff Sarah Moore (hereinafter referred to as “Plaintiff”), on behalf of herself and
     5
         others similarly situated, hereby does and will move the Court to:
     6
               1.     adjudicate that the Settlement is fair, reasonable, and adequate;
     7
               2.     direct distribution of settlement benefits by the Settlement Administrator
     8
                      to Participating Class Members in accordance with the Settlement;
     9
               3.     bind all Participating Class Members who did not timely opt out of the
    10
                      Settlement to the release of claims in favor of Defendants as set forth in
    11
                      the Settlement;
    12
               4.     dismiss Plaintiffs’ complaint with prejudice;
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               5.     direct that the Clerk of the Court enter the Court’s order as a final
    14
                      judgment; and
    15
               6.     without affecting the finality of the final judgment, reserve the Court’s
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                      continuing jurisdiction over the parties for the purposes of
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                      implementing, enforcing and/or administering the Settlement.
    18
               The Settlement should be approved because it is the product of arms’ length,
    19
         good-faith negotiations and is fair and reasonable to Class Members.
    20
               This motion is based upon this Notice of Motion and Unopposed Motion for
    21
         Final Approval of Class Action Settlement, the accompanying Memorandum in
    22
         Support of Unopposed Motion for Final Approval of Class Action Settlement,
    23
         Declarations in Support of Unopposed Motion for Final Approval of Class Action
    24
         Settlement, the proposed form of Order, and the Court’s record of this action,
    25
         including but not limited to the Motions and Declarations on file in this matter, and
    26
         the Court’s Orders in this matter: (1) Granting Certification (2) Preliminarily
    27
         Approving Class Settlement; (3) Appointing Settlement Administrator; and (4)
    28
         Scheduling Final Approval Hearing; all matters of which the Court may take notice;
                                                      3
                                                             NOTICE OF MOTION FOR FINAL APPROVAL
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     1
         and oral and documentary evidence presented at the hearing on the motion.
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     3
     4 Dated: June 14, 2017
                                                  WILSON TRIAL GROUP
     5                                            Dennis P. Wilson
     6
     7
                                                  By:______________________________
     8
                                                        Attorneys for Plaintiffs
     9                                                 and Proposed Class
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                                                           NOTICE OF MOTION FOR FINAL APPROVAL
